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Declara'on of Léonie NEWHOUSE, PhD

I, Dr. Léonie S Newhouse declare as follows:

   1. I am submiCng this declara'on in support of EAH, JMR, TN, JMG, KM, NM, TTP [here
      aOer “the deportees”] in their applica'on for protec'on from removal to South
      Sudan, under the Conven'on Against Torture (CAT).

   2. I am currently a tenured Assistant Professor of Human Geography at Durham
      University, and formerly a Senior Research Fellow at the Max Planck Ins'tute for the
      Study of Religious and Ethnic Diversity, where I led the African Urban Diversi'es
      research group. My postdoctoral research at MPI (2014-2018) focused on the
      experiences of foreign na'onals living in South Sudan. I hold a BS from the University
      of California, Berkeley, and an MSc in Forced Migra'on Studies from the University of
      Oxford. I completed my PhD in geography at the University of Washington Seaale in
      2012, focusing on refugee return migra'on to South Sudan in the period running up
      to and just following South Sudan’s Independence in 2011.

   3. My area of research focuses on contemporary poli'cal and economic dynamics in
      South Sudan, with a par'cular focus on the lived experiences of displaced people and
      economic migrants in South Sudan. My research documents how a range of
      popula'ons, including foreign na'onals, navigate the economic and poli'cal
      constraints facing the country. As the economy is deeply intertwined with elite
      poli'cs, corrup'on and state capture, my research of necessity also concerns military
      and poli'cal developments in the county.

   4. My research has been funded by the Royal Geographical Society, Durham University,
      the Max Planck Ins'tute, the Na'onal Science Founda'on and the Bucerius
      Founda'on. My research has been published widely in peer reviewed academic
      journals including: Transac'ons of the Ins'tute of Bri'sh Geographers, Geoforum,
      Environment and Planning A: Economy and Space, Journal of Peasant Studies and
      African Geographical Review. I have advised diploma'c staﬀ, consular mission, and
      UN and humanitarian agencies on foreign na'onals living in South Sudan. My CV is
      aaached.

   5. This declara'on is based on my exper'se, which is built on decades spent following
      the poli'cal, military and economic developments in the country, in addi'on to my
      on-the ground ﬁeldwork in South Sudan since 2009. I have spent over two years in
      South Sudan during this period, most recently in 2023, and con'nue to maintain
      personal and research connec'ons in the country. My research is based on
      interviews and par'cipant observa'on with non-elite south Sudanese residents in
      rural and urban areas, as well as with foreign na'onals living in South Sudan. To the
      best of my knowledge, I am the only academic researcher who has undertaken
      sustained periods of research focusing on the experiences of (non-refugee) foreign
      na'onals in South Sudan. I have conducted over 200 interviews as part of that
      research, which is further underpinned by insights stemming from long term
      ethnographic research, secondary sources such including situa'on reports, data




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      repositories, and analysis from a wide range of UN bodies, Human Rights
      organiza'ons, and well interna'onal and local humanitarian and development
      organiza'ons and community based organiza'ons. I maintain ongoing research
      rela'onships with South Sudanese based scholars, as well as con'nued close contact
      with humanitarian and UN workers, foreign na'onals living in the country, and a wide
      range of South Sudanese na'onals resident in the country, in refugee camps outside
      the country and in the diaspora.

   6. My declara'on is organized as follows. In the ﬁrst sec'on, I outline the current
      poli'cal situa'on in South Sudan. In sec'on two, I discuss the speciﬁc risk for the
      deportees in ques'on in South Sudan. I ﬁrst discuss the most likely scenario where
      the deportees are detained by the NSS at the airport or shortly thereaOer, next I
      consider what might happen in the less likely case of their release into the
      community. In sec'on three I discuss speciﬁc aaributes of individual deportees that
      might have bearing on their treatment by authori'es in South Sudan. In sec'on four,
      I lay out condi'ons for Foreign na'onals in South Sudan, including their legal
      standing in the country and more general social condi'ons bearing on their
      treatment. In the ﬁnal sec'on, I reﬂect on the credibility of any assurances oﬀered by
      South Sudanese government regarding the treatment of the deportees.

   7. On this basis, I believe that I have relevant exper'se rela'ng to the treatment of
      foreigners in South Sudan, and condi'ons that would confront the deportees if they
      were deported to South Sudan.


I. General Condi.ons in South Sudan

   8. South Sudan gained its independence on July 9, 2011. Since 2013, the country has
      been in con'nuous na'onal conﬂict, that persists to this day. In 2013, the country
      became destabilized as a result of elite compe''on over poli'cal succession in the
      ruling party SPLM during the run up to the ﬁrst scheduled elec'ons. At stake was
      control over the state apparatus, and oil revenues. In December of the same year, a
      civil war broke out between the two main rival fac'ons: those loyal to President
      Salva Kiir Mayardit (mainly Dinka), and those aligned with the current First Vice
      President Riek Machar Teny whose rebel forces drew from Nuer areas, but whose call
      for a more federal decentralized poli'cal system found support among other ethnic
      fac'ons. Intense ﬁgh'ng in Juba, in which elites from both fac'ons sought to
      instrumentalize ethnic animosity, escalated to total civil war during the period of Dec
      2013 to mid 2015, and once again from 2016 to 2018.

   9. The civil war has been characterized by rapidly shiOing poli'cal alliances,
      indiscriminate violence against civilian popula'ons, and ethnically targeted aaacks.
      Sexual violence against women, men and children has been used by armed actors
      against civilians. While organized loosely into two main fac'ons, individual military
      commanders oOen maintain independent control of the soldiers serving under them.
      Communi'es have organized ethnic mili'as (such as the White Army, the Arrow
      Boys) which can be well armed, and which operate outside of direct control by
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   poli'cal and military elites. Poli'cal elites have deliberately sown ethnic hatred in
   order to instrumentalize ethnic tensions in the prosecu'on of this war, including
   through deliberate aaacks against civilians, massacres, targeted sexual violence and
   torture. Furthermore, armed fac'ons have deliberately targeted civilian popula'ons
   aligned to rival fac'ons in cycles of escala'ng retribu'on. The war has displaced
   around 4 million people and has killed hundreds of thousands.

10. Human rights organiza'ons such as Human Rights watch and Amnesty Interna'onal
    have repeatedly documented major human right viola'ons in South Sudan by both
    government forces aligned to President Salva Kiir, the opposi'on [IO] led by Riek
    Machar Teny, and to other military groups, including arbitrary deten'ons, targeted
    killings, abduc'ons and forced disappearances. Opera'ves associated with Kiir’s
    Na'onal Security Service and Military Intelligence are known to operate outside the
    country’s borders and have abducted and forcibly repatriated a number of dissident
    South Sudanese na'onals for deten'on, torture and disappearances.

11. While the Revitalized Agreement on the Resolu'on of the Conﬂict in South Sudan (R-
    ARCSS) between the two major fac'ons led by Kiir and Machar was signed in 2018,
    there has been slow progress toward implemen'ng its key benchmarks on
    disarmament, demobiliza'on and the integra'on of ﬁgh'ng forces into a uniﬁed
    na'onal army. Violence has con'nued in many areas, and disappearances, arbitrary
    deten'ons, and extra-judicial killings by military and state security forces aligned to
    the president have con'nued.

12. President Salva Kiir has overseen a major expansion of the Na'onal Security Services
    (NSS). The powers of the NSS were further extended as part of R-ARCSS in 2018, and
    again in 2024. Over this period, the NSS have grown to be an important parallel
    military, intelligence and police power under the direct control of the president. The
    NSS and associated organiza'onal units, such as the Internal Security Bureau (ISB),
    act outside of the law and with impunity to pursue the presidents aims. They have
    become primary actors in violence against civilians, forced disappearances, torture
    and extrajudicial killings. The NSS also embeds personnel within key government and
    commercial oﬃces and civil society organiza'ons. Freedom of associa'on is limited,
    as all gatherings over three people must seek approval of the NSS or risk deten'on.
    The NSS is par'cularly ac've in the capital Juba, where opera'ves maintain
    surveillance of hotels and bars, enforce evening curfews and undertake sweeps
    targe'ng the street homeless, who are oOen interrogated and detained in military
    barracks, police cells and other loca'ons, with real risk of torture and violence. The
    NSS regularly denies due process for detainees, while they remain wholly
    unaccountable due to a lack of meaningful judicial or legisla've oversight and legal
    immuni'es for agents.

13. The South Sudanese government faces a dire ﬁscal context. Oil revenues have stalled
    sue to the conﬂict in neighbouring Sudan, and eﬀorts on the part of the government
    to sell oﬀ future oil have lost credibility. Most civil servants and members of the
    oﬃcial armed forces have been paid only sporadically, if at all since 2023. Many of
    the government’s most powerful actors have been placed under interna'onal
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       sanc'ons, and the country has been under a UN arms embargo since 2018. The
       government is under huge poli'cal and ﬁnancial pressures to secure funds to ﬁnance
       the armed forces in par'cular, and the civil service more generally. This leaves the
       government vulnerable to the demands of those willing to oﬀer such funding,
       including other governments.

   14. The failure to pay salaries has fuelled a spiralling inﬂa'onary crisis and exacerbated
       rent-seeking, bribe seeking and extor'on among public oﬃcials and security sector.

   15. In the past six months, poli'cal tensions related to slow progress of the 2018 peace
       process, and deepening economic crisis have escalated rapidly. President Kiir has
       undertaken several rounds of government reshuﬄing in ways that violate the R-
       ARCSS power sharing arrangements. Tensions have been rising in response.

   16. In March 2025, a barracks for forces allied to the President came under aaack by an
       ethnic mili'a—the White Army—in Nasir, Vice President Machar’s home area. The
       aaack led to signiﬁcant casual'es, and a siege on a high-ranking commander. In
       response Kiir called in air strikes against the civilian popula'on [over several days in
       mid-March] with the support of the Ugandan Military. In the aOermath, a UN
       helicopter seeking to deescalate the situa'on was shot down, killing those on board,
       including the UN pilot. Shortly thereaOer [March 26] Kiir placed Machar, who has
       held the posi'on of ﬁrst vice president under the terms of the peace agreement,
       under house arrest in Juba. In the wake, power-sharing has fully collapsed.

   17. Many experts assess the current power sharing arrangements and the agreement on
       which they were based to have collapsed, with renewed violence and full-scale war
       likely immanent, in the immediate to near term.

II. Speciﬁc risks to deportees as a group:

   18. In this sec'on I detail the clear risk to the deportees as a group of facing torture if
       deported to South Sudan. I outline the risks of torture in the case that the men are
       detained by the Na'onal Security Services (NSS) or other authori'es on arrival at the
       Juba Airport, or shortly thereaOer during their required registra'on with immigra'on
       authori'es and the police, and 2) in the case where the deportees are not detained
       and released into the community.

Deten.on at the Airport, or in subsequent interac.ons with authori.es in the days
following

   19. Given the publicized circumstances of this case, and the criminal histories of the
       deportees, it is extremely likely that these individuals will face deten'on on arrival by
       the NSS at Juba Airport, or be detained as a result of subsequent legally required
       interac'ons with immigra'on authori'es or police in the days immediately following
       their arrival. Arrest by the NSS at the airport or shortly thereaOer will likely result in
       deten'on in Juba, at one of the NSS’s known prisons or secret ‘ghost houses’.
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Risk of torture in deten.on:

    20. If detained, it is likely that the deportees will face torture, or condi'ons that amount
        to torture in South Sudanese prisons, jails, and/or informal network of NSS secret
        deten'on sites known as ‘ghost houses’. There are consistent and credible reports of
        rou'ne torture in South Sudanese jails, prisons and secret deten'on sites across the
        country. While sites maintained by the NSS are par'cularly associated with torture,
        abuses of detainees are not conﬁned to these loca'ons.

    21. Reported treatment in deten'on by South Sudanese authori'es includes:
           a. Beatings, whippings, being hung upside down, electrocution, burning,
               exposure to the elements, piercing with needles, rape, sexual violence and
               humiliation.
           b. Lack of access to legal counsel or legal processes. People are regularly held
               incommunicado at undisclosed locations. In many cases no charges are filed
               and there is no way to challenge detention.
           c. Indefinite detention without charge—sometimes for years.
           d. Withholding of food, water, and medical attention/treatment in order to
               secure admissions of guilt or to extort money.

    22. Deaths in custody are common, with bodies showing marks of bea'ngs and torture
        disposed of in rivers, ditches and roadsides.

    23. Except in a small number of highly publicized cases, there have been few aaempts to
        hold abusive oﬃcials, soldiers or military commanders accountable. These are
        controlled by poli'cal elites who may use such mechanisms for strategic poli'cal
        purposes. Public records and data rela'ng to prisons and deten'on are not rou'nely
        collected. South Sudan. While the media do report on some cases of arbitrary arrest
        and abuse in deten'on, it is important to recognize the South Sudanese journalists
        and media houses are regularly targeted by oﬃcials for arrest, and in'mida'on. The
        government has been known to shut-down daily newspapers and local radio sta'ons
        for unfavourable coverage, and to collect print runs from the streets for destruc'on.
        While there was a reduc'on in the number of arrests and deten'ons of journalist last
        year, this is from a fairly high level.

Deten.on by the NSS
   24. Since its expansion by Kiir in 2018 and 2024, the Na'onal Security Service has
       become a powerful security apparatus and military force under the direct control of
       the Oﬃce of the President. 1 Due to its close associa'on with the president, its


1
 There is extensive documenta2on of the powers and abuses of the NSS in numerous reports including : HRW
h?ps://www.hrw.org/report/2020/12/14/what-crime-was-i-paying/abuses-south-sudans-na2onal-security-
service; Amnesty interna2onal, h?ps://www.amnesty.org/en/documents/afr65/3577/2021/en/ and reports to
the UN Security Council and Panel of Experts h?ps://www.securitycouncilreport.org/aS/cf/%7B65BFCF9B-
6D27-4E9C-8CD3-CF6E4FF96FF9%7D/s_2017_326.pdf ;
h?ps://www.securitycouncilreport.org/aS/cf/%7B65BFCF9B-6D27-4E9C-8CD3-
CF6E4FF96FF9%7D/s_2019_301.pdf ; and the Sentry h?ps://thesentry.org/wp-
content/uploads/2022/12/UndercoverAc2vi2es_TheSentry_Dec2022.pdf
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          oﬃcers act with near total impunity. It has an extensive network of agents across the
          country, and maintains surveillance of ports of entry into South Sudan, including
          Juba Airport. There are consistent and credible reports linking the NSS to torture,
          kidnapping, disappearances and extrajudicial killings. Within a more general context
          of impunity for abuses against prisoners and detainees, there are several deten'on
          facili'es in the capital that are associated with the NSS [Blue House, Riverside and
          Hai Jellaba, and in private houses] where torture is rou'ne. The treatment of
          prisoners and detainees at NSS headquarters— known as Blue House—is so
          notorious that it has become a public short-hand used to refer to torture.

      25. Many of the country’s highest proﬁle detainees have been held incommunicado at
          Blue House, with their interna'onal reputa'ons and media aaen'on oﬀering no
          protec'on against abuses. While the cases of poli'cians, civil society ac'vists and
          journalists receive more public aaen'on, Blue House has a ‘criminal sec'on’ where
          those accused of non-poli'cal crimes or picked up oﬀ the street are detained.
          Condi'ons are overcrowded and detainees are rou'nely extorted for cash by
          withholding food, water and medical care. In at least one case that I am familiar with,
          withholding of medical care led to permanent blindness. Ex-detainees report that
          poli'cal and non-poli'cal detainees are rou'nely subjected to severe physical abuse
          including bea'ngs, lashings, waterboarding, sodomy, electric shock and piercing with
          needles. Psychological abuses have also been reported, including mock trials. These
          reports have been substan'ated by the US State Department2, Amnesty Interna'onal
          and Human Rights Watch.

      26. The NSS is also known to operate mobile killing squads. These operate with impunity
          and have been known to target South Sudanese people from the diaspora and
          foreign na'onals. NSS has also been linked to the deten'on, torture and rape of a
          UN-backed Ceaseﬁre Monitoring and Veriﬁca'on team in 2018.

II. Risks of Torture if Deportees are released into the community:

      27. While I view the possibility of the deportees being released into the community aOer
          entry into the country as unlikely given their criminal histories, I wish to detail here
          the risks they would face should this occur.

      28. Juba, and South Sudan more generally is a diﬃcult place to navigate for those
          unfamiliar with the country, and for those without local connec'ons. The cost of
          living in Juba is extremely high, with secure, but basic hotel rooms [e.g. running
          water, electricity for a few hours a day, secured access] star'ng at USD100. Even
          unsafe, unguarded hostels start at USD15.

      29. For more permanent accommoda'on, ren'ng a room, or a home oOen requires a
          na'onal ID card or proof of status, and local guarantors, with payment oOen
          expected in full up front for an en're year. Given these individuals will be arriving
          without any prepara'on or 'es to the country, it is unlikely that they will be able to

2
    h?ps://www.state.gov/reports/2019-country-reports-on-human-rights-prac2ces/south-sudan/
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   ﬁnd housing, and will ﬁnd themselves at risk of des'tu'on and homelessness. Their
   criminal backgrounds, lack of language skills, and lack of connec'ons will further
   limit their ability to ﬁnd work even in the informal sector, thus compounding their
   risk of des'tu'on.

30. Furthermore, South Sudan remains largely disconnected from the interna'onal
    ﬁnancial system, with only a handful of places equipped to take payments by bank
    cards or credit cards in the country. Access to overseas funds is diﬃcult and
    expensive, restricted to money transfer oﬃces such as Western Union and
    Dahabshiil, which operate during limited hours, and which can restrict the amount of
    funds that can be received. While there are some banks that operate ATMs, these are
    usually restricted to access to funds held in local accounts in the country. The
    Canadian Government and UK FCDO advise all travellers to carry suﬃcient recently
    issued, unblemished US Dollars for the en'rety of planned presence in the country,
    due to the diﬃculty of accessing money there. Such restric'ons on accessing money
    would leave the deportees des'tute and unable to pay for basic necessi'es such as
    food, water and accommoda'on.

31. Given these condi'ons, deportees would risk homelessness upon arrival, or shortly
    thereaOer. In Juba, it is not generally considered safe to be on the street at night.
    Curfews are a regular tool used to control the popula'on during 'mes of heightened
    poli'cal tension. A curfew is currently in force in Juba from 8pm to just before
    sunrise. These are enforced by police and security services, roadblocks, and sweeps
    where those walking or sleeping in the street have been taken into custody. Curfew
    or not, those on the streets aOer dark face risk of harassment by police and soldiers,
    arbitrary arrest and violence. There are no services—such as homeless shelters, soup
    kitchens, or even places to access safe drinking water. Churches generally restrict
    assistance to members. As men'oned above, there are no consular services for
    na'onals of Vietnam, Myanmar [Burma], Mexico, Laos or Cuba to which the men
    could turn for support.

32. Without cash, assets or connec'ons to the country, facing des'tu'on and without
    other means of earning money, the deportees would likely be forced to rely on non-
    payment of hotel bills, theO, begging or sex work for survival, puCng them in direct
    contact with the regular police, and at immediate risk of deten'on.

33. Treatment in deten'on by regular police forces, whether in Juba or elsewhere can
    amount to torture: criminals are regularly severely beaten, humiliated, held without
    charge, held incommunicado, denied access to a lawyer and extorted for cash in
    exchange for access to basic necessi'es including clean water, soap, and food. While
    the requirement to bring detainees before a judge within 24 hours exists on paper, it
    is rarely complied with. There is no maximum length of custody, with documented
    cases of indeﬁnite deten'on without charge ranging from a few days to over a year.
    Many arrested for crimes (whether genuine or as a pretext for extor'on) have died in
    police custody, due to physical mistreatment, poor condi'ons or lack of medical care.
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   34. The deportees may also be at risk of harm from criminal gangs that operate in Juba,
       and from gangs, bandits and other armed actors ac've across the country. Violence
       is endemic in South Sudan, and armed gangs, mili'as and criminals murder, rape and
       loot homes, hotels, and caale, some'mes with the acquiescence or ac've
       par'cipa'on of public authori'es or rank and ﬁle soldiers.

   35. If the men aaempted to leave Juba, either by commercial ﬂights or overland travel,
       they would need to secure a travel permit from the South Sudanese authori'es.
       These would need authoriza'on from the NSS. It is unlikely that permission to travel
       would be granted. Addi'onally, such a request would once again put the deportees
       in contact with the NSS, who as previously noted, act with near total impunity,
       puCng them at further risk.

Deten.on by other security forces outside of Juba:

   36. If the deportees aaempted to leave Juba by road, with or without the required
       permit, they would face deten'on at any number of NSS, and military checkpoints
       that control movement throughout the country. Roadblocks and checkpoints
       maintain their own deten'on sites, and foreign na'onals traveling are par'cularly
       singled out for intensive checks. Interac'ons at roadblocks are tense, and regularly
       lead to people being removed from vehicles under threat of arms some'mes by
       force. People removed from vehicles at checkpoints and detained have disappeared.

   37. Roadblocks and checkpoints are an important way that local authori'es and military
       commanders control access to and movement through territories under their
       control. Some of these will be in close communica'on with the state security
       apparatus, while others can operate with considerable autonomy from central
       poli'cal authori'es or and military chains of command.

   38. There are a large number of unoﬃcial roadblocks maintained by local communi'es,
       and by other armed actors including those aligned with ﬁrst vice president Machar,
       where their status as foreigners would raise suspicion, par'cularly in the current
       vola'le poli'cal context. Many foreign na'onals have leO the country, which is likely
       to heighten both scru'ny and suspicion of those that do remain.

   39. In summary, the deportees would face repeated checks at mul'ple checkpoints
       along any route out of the country by government oﬃcials of all stripes, each one
       carrying the risk of deten'on. They would be singled out because of their foreign
       na'onality, with their lack of documenta'on and language skills further raising
       suspicions. Their lack of familiarity with the South Sudanese context increases the
       likelihood that interac'ons at checkpoints would lead to deten'on and physical
       violence. Condi'ons in these sites of deten'on are detailed below.

   40. While the NSS deten'on facili'es in Juba are well known for torture, it is worth
       sta'ng that people are rou'nely tortured in local jails and other places of deten'on
       across the country. Treatment in these deten'on sites include severe physical
       assaults, sexual humilia'on and sexual assault on men and women, extreme forms of
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        physical restraint and exposure [such as shackling to walls and trees], psychological
        abuse, and slavery. Jails are oOen controlled by local poli'cal or military leaders who
        act independently from poli'cal and military lines of command, and with impunity.3

    41. To oﬀer some examples, just in the past month, several cases or arbitrary arrest by
        local oﬃcials have been reported in local news. Arbitrary arrests in the past month
        have been both poli'cal and non-poli'cal in mo'va'on. These in including the
        deten'on of a UN radio journalist (Rumbek), university lecturers (Lakes State), and a
        mass arrest of over 60 unemployed youth in Western Equatoria). Local poli'cal elites
        regularly use deten'on as a tool to pursue personal (non-poli'cal) disputes. For
        example, Aweil County Commissioner has been accused of illegally detaining two
        local farmers for over a week in connec'on with a local land dispute. In such cases,
        bea'ngs and other forms of violence are common, occasionally leading to death. For
        example, on 1 June 2025, a 12-year-old boy in Torit accused of gang ac'vity, was
        arrested and beaten by armed men aligned with the governor of Eastern Equatoria
        State. He later died in custody4.

    42. There is a long history of bea'ngs, torture and extrajudicial killing carried out in rural
        areas by local authori'es, including those aligned to the ruling party [SPLM], the
        oﬃcial opposi'on [IO] and other armed actors. In rural areas where I have worked
        [Eastern Equatoria], local poli'cal opera'ves have worked ac'vely with military
        intelligence and the NSS to compile lists of people deemed suspicious, and to target
        named individuals with arrest, torture and in several cases death. The main overland
        routes leaving South Sudan for Kenya and Uganda pass through Eastern Equatoria.
        Colleagues working in other regions have reported similar levels of surveillance, both
        by local authori'es aligned to the president and to vice president Machar’s IO.

    43. In rural areas, local authori'es do not have dedicated facili'es used as jails, with
        army barracks, disused storerooms and metal shipping containers used to hold
        detainees. In some cases, people are chained to trees or walls and exposed to the
        elements. Many sites of deten'on lack any sanita'on. OOen prisoners are not
        provided with food, unless family members provide it. Deten'on facili'es are oOen
        overcrowded, lack sanita'on and access to clean water, leading to signiﬁcant illness,
        including malaria, cholera, monkey pox, and typhoid fever.5

    44. Deten'on in shipping containers has been used as punishment or to extract
        confessions or bribes from detainees. Shipping containers can reach extreme
        temperatures dangerous to human health, and this has resulted in the death of
        detainees on more than one occasion.

    45. Low level civil servants, including rank and ﬁle soldiers and prison guards have not
        been paid regularly for more than 18 months. This introduces the possibility of the

3
  h?ps://www.state.gov/reports/2019-country-reports-on-human-rights-prac2ces/south-sudan/
4
  h?ps://www.radiotamazuj.org/en/news/ar2cle/torit-boy-dies-in-custody-family-blames-governors-guards.
5
  h?ps://www.radiotamazuj.org/en/news/ar2cle/lakes-state-health-ministry-declares-mpox-outbreak-among-
prison-inmates
  Case 1:25-cv-10676-BEM           Document 175-2        Filed 06/23/25       Page 10 of 22




       use of tac'cs such as the denial of access to water, soap, food or deliberate exposure
       a means to extract ﬁnancial resources from the deportees, given their connec'on to
       the USA and an assump'on that they or their families will have the ﬁnancial
       resources to pay bribes or ransoms.

   46. Ambushes on vehicles on the country’s road networks occur weekly. Due to the
       entrenched economic crisis, property crimes have become more common and are
       more likely to escalate to violence, par'cularly given the prolifera'on of small arms,
       other weapons and military uniforms among wide swaths of the popula'on. For
       these reasons, it is also oOen diﬃcult to dis'nguish criminal actors from those
       associated with the country’s police, military and intelligence services. As foreign
       na'onals and members of the diaspora, the deportees are likely to be at heightened
       risk of ransom requests in par'cular—both targeted and opportunis'c—owing to an
       assump'on that they, or their families, will have access to ﬁnancial resources and
       hard currency. As previously men'oned, many foreign na'onals are reluctant to
       report such crimes to the police because of the likelihood that authori'es will
       acquiesce in such ransom demands, or indeed make addi'onal demands.

III. Risks to Individual Deportees on account of their personal circumstances:

   47. In this sec'on consider how individual personal characteris'cs of the deportees may
       impact on their treatment, including those with serious medical condi'ons, serious
       mental health condi'ons, those with cogni've impairments or diminished capacity,
       those with substance abuse issues and those with a history of sexual abuse.

Speciﬁc risks to those with serious medical condi.ons:

   48. In general, the standard of medical care in South Sudan is low, with most medical
       facility lacking regular access to drugs, supplies, and electricity. While this is the
       situa'on that all south Sudanese people face, it is worth no'ng that any deportee
       with complex medical needs will face challenges in receiving appropriate care.

   49. As noted above, condi'ons in South Sudanese jails, prisons and other sites of
       deten'on lack basic sanita'on, and medical care is rou'nely denied to detainees as a
       form of punishment. This poses a risk for any of the deportees suﬀering from chronic
       diseases which are managed through medica'on, as with-holding medicine maybe
       used as a tac'c of punishment, or to extract confessions or bribes from detainees or
       their families. Furthermore, pressure techniques used authori'es in deten'on, such
       as sleep depriva'on and withholding of food may have par'cularly serious life
       threatening eﬀects on those with chronic illnesses, such as epilepsy and diabetes.

   50. Many diseases carry s'gma, that those with symptoms may be subjected to
       treatments ranging from social shunning, to physical abuse, par'cularly when a
       disease is associates with tradi'onal beliefs around witchcraO, spirit possession, and
       moral pollu'on due to the breaking of a taboo. For example in many communi'es,
       seizures are ascribed to spirit possession, with many suﬀerers beaten, or shackled to
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        drive out the possession, or to protect others from contagion.6 In other places,
        people do not dis'nguish between epilepsy and serious mental illness. People with
        epilepsy therefore are at heightened risk of physical violence and extreme forms of
        physical restraint. Suﬀerers are oOen taken to prisons and jails out of fear of
        contagion.

    51. Any deportees with serious chronic medical issues are at heighten risk of deten'on
        and mistreatment, with the deliberate withholding of medicines or treatment likely.
        They are also more suscep'ble to serious harms such as permanent disability and
        even death in deten'on as a result.

Speciﬁc risks to those with serious psychiatric condi.ons:

    52. Support for the treatment and management of psychiatric condi'ons is extremely
        limited in South Sudan. The only public medical facility oﬀering care in the country is
        a 12 bed unit at Juba Teaching hospital. The availability of drugs for treatment is both
        inconsistent and limited.7 People with serious psychiatric condi'ons are oOen
        brought to prisons by police or members of the local community. In urban areas, they
        are regularly held in unsegregated cells with accused/convicted criminals. In rural
        areas, they are oOen shackled in public places or 'ed to trees.

    53. Psychiatric condi'ons and serious mental health condi'ons are extremely
        s'gma'zed in South Sudan, and like epilepsy are oOen viewed as resul'ng from spirit
        possession, as punishment for moral transgressions, or witchcraO. Suﬀerers are
        regularly beaten or shackled to drive out the possession, or to protect others from
        contagion.

    54. In urban areas, those with psychiatric condi'ons struggle to secure or maintain
        housing, with many living on the street, where they are exposed to violence from
        criminals, and harassment and arrest by public authori'es.

    55. Any deportee with a serious psychiatric condi'on would face heightened risks of
        contact with police, local authori'es and other armed actors and subsequent
        deten'on. The use of physical violence is likely, as is the use of shackles or other
        restraints. They are also at heightened risk of ongoing physical violence, ongoing
        physical restraint and /or exposure (in rural areas) if held in deten'on as punishment
        for unorthodox or erra'c behaviours.

Speciﬁc risks to those with cogni.ve impairments / diminished capacity:

    56. Deportees with cogni've impairments would also be at heightened risk of contact
        with the police, military and other armed actors, of being detained or arrested in the


6
  h?ps://www.theguardian.com/global-development/2024/mar/25/cure-nodding-syndrome-south-sudan-
children-neurological-disorder-blackﬂy-onchocerciasis-river-blindness-link
7
  h?ps://www.aljazeera.com/features/2019/1/18/in-south-sudan-s2gma-and-underfunding-plague-mental-
health-care
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           wake of such contact, and of heighten risk of physical harm and violence in
           deten'on.

      57. As should be clear from this statement, South Sudan is a complex environment to
          navigate, with a prolifera'on of security authori'es, armed actors, and a suspicious
          and well-armed populace. Even for those highly experienced with the country,
          naviga'ng day to day interac'ons and ensure safety is a complex eﬀort that requires
          a high degree of forethought, con'ngency planning, situa'onal awareness and ability
          to make high-stakes decisions quickly.

      58. As part of my responsibility as a researcher, for every visit to South Sudan, I develop
          an in depth risk assessment and emergency protocol to ensure my own safety and
          the safety of my team. These rou'nely run to more than 30 pages, and include
          detailed con'ngency plans for kidnapping, emergency evacua'on, as well as proof of
          life protocols.

      59. It is my view that any deportee with cogni've impairments of diminished capacity
          would be at extreme risk of physical violence and even death due to the incapacity to
          be able to read situa'ons and judge their outcomes in interac'ons with security
          oﬃcials, local authori'es and the general popula'on. A failure to appreciate the
          gravity of these situa'ons would likely be read by authori'es as deliberate
          provoca'on or deﬁance, and punished accordingly. For example, ac'vi'es that are
          viewed as normal day to day ac'vi'es, such as taking photographs, are highly
          sensi've in South Sudan, with engaging in photography in a public place likely garner
          aaen'on from police or plain clothes security opera'ves, leading to deten'on. As
          noted above, this would increase the likelihood of severe bea'ng, lashings,
          electrocu'on, sexual assault and humilia'on, physical restraint and exposure for
          people with cogni've impairments.

Speciﬁc risks to those with substance abuse issues:

      60. The UK FCDO notes that there are severe penal'es for using or traﬃcking drugs in
          South Sudan, including the death penalty and life imprisonment.8

      61. Any deportee with ac've substance abuse issues, or who engages in illegal drug use
          in the country would be at heightened risk of arrest and deten'on if released into
          the community, where they would face condi'ons outlined in paragraphs 25, 33, 40
          and 42-45.

Speciﬁc Risks to those with history of sexual oﬀenses
   1. Some of the deportees have a publicly known history of sexual exploita'on and
       assault, and may face addi'onal risks if deported to South Sudan. Vigilante and mob
       violence directed at those accused of sexual improprie'es, par'cularly when those
       people are foreign na'onals, is a common occurrence. The threat of vigilante
       violence is compounded by the popula'on’s lack of faith in the jus'ce system, and

8
    h?ps://www.gov.uk/foreign-travel-advice/south-sudan/safety-and-security
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          the prolifera'on of ﬁrearms. I have personally witnessed mul'ple incidents in which
          an accusa'on based unsubstan'ated rumours of improper sexual contact have led to
          lynchings which put those facing accusa'ons in the hospital with grave bodily
          injuries.

      2. Should their crimes become publicly known, individuals with a history of sexual
         oﬀenses would face heightened risks of violence, torture and even death. This risk is
         heightened by their complete lack of familiarity with the cultural context and norms
         related to sexuality in the country, which would make them suscep'ble to
         uninten'onal ac'ons that may be perceived as improper. While sexual violence is
         common in South Sudan, this does not mean that there is a permissive environment
         for those perceived to have commiaed sexual improprie'es, with severe bea'ngs of
         accused perpetrators (and their family members) a regular occurrence. Such
         confronta'ons can escalate to murder.9 If detained, they may also face addi'onal
         risks of violence from prison guards and fellow detainees.


IV. Condi.ons for foreign na.onals in South Sudan [general]

Legal Standing and Status:
   3. Foreign Na'onals in South Sudan must obtain a visa and register with a local police
        sta'on within 3 days of arrival. Registra'on is oOen an occasion for security or
        immigra'on oﬃcials seek bribes or payoﬀs, par'cularly from those unfamiliar with
        the system. Any irregularity may be used as a pretext for reques'ng addi'onal fees
        under threat of deten'on.

      4. Proof of Yellow Fever vaccina'on is required for all entries. This requirement has
         been used as a pretext for harassing, detaining or refusing entry to foreign na'onals
         on arrival at Juba airport.

      5. It is possible for foreign na'onals to apply for permission to work in South Sudan, but
         this generally requires an employer to sponsor the applica'on. The cost per year for
         these ranges from USD1,000-5,000. Work permits must be renewed each year.
         Naturaliza'on is possible in South Sudan aOer 10 years of legal residence, however
         those with criminal records are barred from naturaliza'on. There are legal provisions
         in the 2011 Na'onality Act for naturalized ci'zens to be stripped of their na'onality.

      6. South Sudan’s Passport and Immigra'on Act of 2011 has provisions [Chapter VII,
         Ar'cles 27-31] that allow deporta'on in instances where a court has convicted an
         alien of an oﬀense punishable with imprisonment in excess of 6 months [Ar'cle 28.1]
         or where and alien is declared by the minister to be an undesirable [Ar'cle 28.2].
         Being declared undesirable is at the discre'on of the minister, in consulta'on with a
         poli'cal commiaee, and is not subject to review or challenge in the courts [Ar'cle
         30]. Aliens subject to deporta'on may be detained un'l deporta'on [Ar'cle 31].
         Records related to cases of deporta'ons from South Sudan are not publicly available,

9
    h?ps://www.radiotamazuj.org/en/news/ar2cle/2-men-killed-woman-beaten-over-adultery-in-ikotos-county
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        making it diﬃcult to assess whether the country has abided by its commitments on
        non-refoulement.

     7. As far as I am aware, there are no separate deten'on facili'es for migrants or non-
        na'onals, meaning it is likely that if detained, the individuals concerned would be
        held within the general popula'on of detained people in South Sudan. As noted by
        the US State Department, it is rare in South Sudan for prisoners to be separated
        according to important dis'nc'ons including adults and children, men and women,
        pre-trail and post-trial detainees, violent / non-violent oﬀenders and those with
        psychiatric condi'ons.10

     8. There are no consular services in South Sudan for nationals of Vietnam, Myanmar
        [Burma], Mexico, Laos or Cuba.

     9. While South Sudan has signed on to the CAT, it rou'nely violates its provisions as
        documented in numerous reports to the UN Security Council, statements by the
        OHCHR, the ICRC, as well as reports by Human Rights Watch and Amnesty
        Interna'onal.

Social Condi.ons with bearing on the treatment of foreign na.onals in South Sudan

     10. The US State Department and the UK Foreign Commonwealth and Development
         Oﬃce [FCDO] advise against all travel to the country, and advise any na'onals
         currently there to leave, ci'ng risks including deliberate targe'ng by criminals,
         kidnapping, carjacking, shoo'ngs, ambushes, assaults, violence and in'mida'on by
         armed actors including security services, as well as arbitrary deten'on, extor'on and
         sexual violence against people of all genders at checkpoints and roadblocks operated
         by soldiers and other armed actors.

     11. The rule of law is week in South Sudan, and even well connected and well-resourced
         foreign na'onals are subject to surveillance and harassment by security forces, rank
         and ﬁle soldiers and local police. Those associated with large organiza'ons
         undertaking humanitarian or development work are beaer insulated from some
         forms of harassment but can face other kinds of targeted aaacks including
         ambushes, armed robberies, rape and kidnapping. South Sudan is one of the
         deadliest places to undertake humanitarian work in the world. Violence against other
         foreign na'onals is less well documented, owing to their lack of ins'tu'onal and
         consular support as well as media disinterest, however violence against foreigners
         not working in the ﬁeld of humanitarian and development aid is more prevalent and
         pervasive.

     12. The presence of foreigners in the country is a conten'ous issue, with many South
         Sudanese suspicious of their presence. Many view foreigners present in the country
         for work or for business as taking economic advantage of the local popula'ons.


10
  h?ps://www.radiotamazuj.org/en/news/ar2cle/jailers-lock-women-in-cell-with-men-in-gangura-western-
equatoria
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           Violence directed at foreigners is common and pervasive, both at the hands of state
           security agents and the popula'on more generally through vigilan'sm.

       13. Vigilante violence is a par'cular risk for foreigners in South Sudan, with par'cular
           situa'ons highly likely to spark oﬀ episodes. These include: road accidents where a
           person or livestock is injured or killed; theO or suspicion of theO; close contact (or
           rumours of close contact) between foreign na'onals and South Sudanese women,
           girls and children. While violence associated with breaking of sexual taboos is not
           exclusive to foreigners, foreigners are more likely to transgress local norms of
           behaviour, be unaware of tradi'onal mechanisms to resolve such transgression, and
           to be dealt with more violently. I have personally witnessed incidents of violence
           against foreign men who were perceived as becoming too closely involved with
           South Sudanese women, with one being beaten severely and ending up in the
           hospital, and another forced to leave town under cover darkness due to credible
           threats of harm by male rela'ves on the woman concerned. While not involving a
           foreigner, a recent case in Ikotos county shows how quickly accusa'ons of adultery
           can escalate into violence.11

       14. For most foreign na'onals, the legal system and the courts oﬀer liale protec'on,
           whether in civil maaers, or in rela'on to criminal acts. Most foreign na'onals adopt a
           strategy of avoidance where possible and cau'on and deference to South Sudanese
           na'onals, and authori'es even when they-themselves have been wronged, or been
           vic'ms of crimes, as they fear retalia'on by vigilantes, powerful rela'ves, the police
           and the courts. This is substan'ated by US State Department report for 2022 no'ng
           “mul'ple reports of arrests, including of foreigners, in civil cases, where a
           complainant exerted inﬂuence upon the police to arrest someone as a nego'a'on
           tac'c.” Even when consular services are available in the country, the government
           rou'nely fails to no'fy relevant embassies when they have detained foreign
           na'onals.

       15. In my research with migrants in the capital, they reported facing two interrelated
           forms of harm: extor'on and theO and physical violence. Extor'on and theO were
           oOen based on the explicit and credible threat of direct physical violence or the
           weaponiza'on of the courts, military and police.

       16. Physical violence against foreigners is common, including unprovoked aaacks. I
           personally have witnessed banal incidents (such as the percep'on that someone has
           jumped a queue, or accidentally running into someone in a crowded market) escalate
           to armed threats and physical violence. Many respondents reported incidents of
           armed in'mida'on, extor'on, and violence that they aaributed to their status as
           non-na'onals. Even other African na'onals are easily dis'nguished by their
           appearance and unfamiliarity with Juba Arabic, the local lingua franca. As all of the
           foreign na'onal deportees are non-African, they will stand out even more. The
           majority of foreign na'onals men'oned their inability to speak Juba Arabic as leading


11
     h?ps://www.radiotamazuj.org/en/news/ar2cle/2-men-killed-woman-beaten-over-adultery-in-ikotos-county
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      to bad outcomes—including theO of trade goods, extor'on, bea'ngs—par'cularly in
      interac'ons with police, oﬃcials and soldiers. Street traders reported bea'ngs and
      theO of trade goods, and are oOen threatened by armed members of the public, and
      harassed and extorted by a wide range of low level government oﬃcials including
      traﬃc wardens, health inspectors among others.

   17. For wealthier foreign businesspeople, payoﬀs to police, traﬃc wardens and oﬃcials
       are rou'ne, with the payment of bribes, ‘fees’ or ‘compensa'on’ viewed as one way
       to insulate oneself from violence. Cul'va'ng friends close to powerful people in the
       government, was another op'on to reduce their risk of physical violence, though
       neither strategy was always successful. Paying bribes, even when requests were
       illegal, was seen as preferable to engaging with the oﬃcial legal system, due to the
       likelihood of being detained, and the prevalence of bea'ngs and other forms of
       physical violence while in deten'on.

   18. Most foreigners I spoke to during ﬁeldwork periods in 2009-10; 2011; 2015 and 2023
       had personal experiences of targeted violence, and armed threats at the hands of
       South Sudanese police, rank and ﬁle soldiers, and civilians. Several had close
       acquaintances who had been severely beaten, shot, tortured or killed.

   19. When traveling by road, outside of the capital, foreigners are ac'vely targeted for
       extor'on at oﬃcial and non-oﬃcial roadblocks, under threat of deten'on and
       physical violence. They are dispropor'onally targeted for road ambushes, which
       oOen result in life threatening injuries and death.


V. Credibility of the Government of South Sudan’s Assurances of Safety for the deportees:

   20. Most observers of South Sudan an'cipate a return to full scale war in the immediate
       to near term. While Kiir currently appears to hold the upper hand in his rivalry with
       Machar, it is publicly known that his health is failing. Recent poli'cal realignments
       and shuﬄing of high-ranking military, security and poli'cal appointees have largely
       been read as an aaempt to secure his succession. However, the ﬁnancial resources
       on which Kiir and those aligned to him built their poli'cal and military allegiances
       have dwindled, leaving big ques'ons about whether his extremely fragile coali'on
       will hold. Machar remains under house arrest, but aaempts by Kiir to fully co-opt
       Machar’s poli'cal party and military allegiances have not yet been wholly successful.
       That said, the most serious threats to Kiir’s poli'cal power may be from within his
       own ranks, par'cularly as he is perceived to be in a weakened posi'on. The
       government does not have full eﬀec've command authority over all fac'ons within
       the army, and alterna've centres of power are also emerging within the army
       military intelligence and the NSS. The country is a 'nder box.

   21. A return to conﬂict would likely be a messy and bloody aﬀair, with individual military
       commanders switching allegiances depending on which fac'on looked best placed to
       succeed, or which fac'on oﬀered the most aarac've set of condi'ons for themselves
       and their soldiers. This round of ﬁgh'ng may be par'cularly intense, as both Machar
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       and Kiir appear weakened, with rivalries over succession /genera'onal change likely
       to complexify the dynamics of ﬁgh'ng. As with previous periods of war, many local
       communi'es are likely to organize self-defence units. This mix would likely result in
       widespread indiscriminate violence, and 't for tat aaacks against civilian popula'ons
       associated with rival commanders/ethnic communi'es.

   22. Any assurances related to the treatment of the deportees made on the part of the
       South Sudanese government should be view with a high degree of scep'cism given
       the likelihood of poli'cal breakdown, fragmenta'on, and civil conﬂict.

   23. It is also worth no'ng that, should a return to war occur and the deportees ﬁnd
       themselves in the hands of other poli'cal fac'ons or armed actors, the risks of
       torture, inhuman and degrading treatment would not diminish, as commanders and
       fac'onal leaders in previous rounds of ﬁgh'ng have shown similar paaern of abuses,
       extrajudicial killing, torture, aaacks on civilians, sexual violence and humilia'on,
       forced recruitment and complete disregard for human rights.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct. Executed on 12 June, 2025 in Durham, England.




[Dr. Léonie S Newhouse]
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DR. LÉONIE S NEWHOUSE
LEONIE.S.NEWHOUSE@DURHAM.AC.UK
DEPARTMENT OF GEOGRAPHY, DURHAM UNIVERSITY, LOWER MOUNT JOY, SOUTH ROAD DURHAM, DH1 3LE
ACADEMIC APPOINTMENTS
2018- present     Assistant Professor in Human Geography, Department of Geography, Durham University, UK.
2017 - 2018       Senior Research Fellow, Department of Socio-Cultural Diversity, The Max Planck Institute for the
                  Study of Religious and Ethnic Diversity, Göttingen, Germany.
2014 - 2017       Research Fellow, Department of Socio-Cultural Diversity, The Max Planck Institute for the Study of
                  Religious and Ethnic Diversity, Göttingen, Germany.
2013 - 2014       Visiting Assistant Professor, African Studies, The Pennsylvania State University, State College, PA.
2013              Lecturer, Department of Geography, University of Washington, Seattle, WA.


EDUCATION
2012              Ph.D, Department of Geography, University of Washington.
2006              MSc. in Forced Migration at the Refugee Studies Centre, Oxford University.
2002              B.S. Environmental Economics and Policy, College of Natural Resources, UC Berkeley.


AREAS OF SPECIALIZATION
Humanitarian Economies; African Urbanisms; Migration & Displacement; Post-Conflict Recovery; Land Rights.


FUNDED PROJECTS
2025              The Weight of Work: Portraits of Work in Kakuma and Kalobeyei (£8,000) Royal Geographical
                  Society’s Thesiger Oman Fellowship.
2023              Eating Alone: Care under Pressure in South Sudan (£8,750) pilot project with R. Lorins, E. Atem, N.
                  Kindersley, A. Sebit, Y. Monyak, Research Development Fund, Department of Geography, Durham
                  University.
2019              Kakuma Portraiture Project (£5000) Research Development Fund, Department of Geography, Durham
                  University.
2017-2020         Academy for African Urban Diversity 2017-2020 (€60,000) Founder & Project Lead on training and
                  mentorship scheme for Early Career Scholars of Urban Africa. MPI MMG. Göttingen, Germany.
2016              Inhabiting the Corridors: Surging Resource Economies and Urban Life in East Africa Workshop &
                  Publication 2016 (€40,000) Co-Lead with AM Simone. MPI MMG. Göttingen, Germany.
2014-2018         Imaginaries of Opportunity: Precarious Labor and Migrant Flows in the Shadow of Humanitarian
                  Urbanism. PI. (€40,000) Post-Doctoral Project. MPI MMG. Göttingen, Germany.
2011              Urban Attractions: returnee youth, Mobility and the Search for a Future in South Sudan’s Regional
                  Towns ($5000) UNHCR funded project.
2009-10           Returning to the South: A Political Economy of Refugee return Migration in South Sudan. PI. National
                  Science Foundation (USA) & Bucerius Foundation (Germany).


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                  Institute of British Geographers, https://doi.org/10.1111/tran.12682
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2012             “Footing it, or why I walk” African Geographical Review, 31(1), 67-71. doi:
                 10.1080/19376812.2012.679461
OTHER PUBLICATIONS
2017                 “Precarious circulations of aspirations In Juba” in Tavengwa & Newhouse (eds) The Corridor,
                     published by CityScapes Magazine, Cape Town South Africa.
2017                 with Simone, AbdouMaliq “Inhabiting the corridor: surging resource economies and urban life in East
                     Africa: An Introduction” in Tavengwa & Newhouse (eds) The Corridor, published by CityScapes
                     Magazine, Cape Town South Africa.
2017                 (ed) with Tavengwa, T. The Corridor: how the East African corridor spanning the Indian Ocean from
                     Somalia to South Africa is being radically re-shaped, a special supplement published by CityScapes
                     Magazine, Cape Town South Africa, in association with the African Centre for Cities.
2015                 “Come Tommorrow” Blog for the MPI MMG webpage. Available at: www.mmg.mpg.de/online-
                     media/blogs/2015/newhouse-come-tomorrow/
Jan 2012             “Urban attractions: returnee youth, mobility and the search for a future in South Sudan’s regional
                     towns” UNHCR Policy Development and Evaluations Service (PDES), New Issues in Refugee Research:
                     Research Paper No 232.
Dec 2011             A review of J. Hyndman Dual Disasters: Humanitarian Aid After the 2004 Tsunami, Sterling VA:
                     Kumarian Press, 2011, for Environment and Planning D: Society and Space. Available at
                     http://societyandspace.com/reviews/reviews-archive/hyndman-jennifer-2011-dual-disasters-
                     reviewed-by-newhouse/
Oct 2006             “The Medium of Testimony: Testimony as Re-Presentation” Refugee Studies Centre Working Paper
                     No. 37; with Kishan, Godin and Muraskin (equal contribution).


Teaching
2018-2025        Modules taught in Department of Geography, Durham University include Geographies of
                 Humanitarianism and the Human, Geographies of Development, Introduction to Geographical
                 Research, Social Research in Geography, Scientific Research in Geography at the Undergraduate level
                 Climate Risk and Society, and Social Dimensions of Risk and Resilience at the Masters Level.
2009 -14         Courses Taught in the African Studies Program, The Pennsylvania State University include
                 Introduction to Contemporary Africa, and Poverty in Africa. At the University of Washington, I have
                 taught or contributed to Introduction to Human Geography; Geographies of International
                 Development and Environmental Change; Introduction to Globalization; Migration in the Global
                 Economy; Immigration and Multiculturalism in Europe in the department of Geography and have
                 contributed to teaching on Human Right in Culture and Practice, Global Poverty and Human Rights
                 and Climate Justice Seminar in the Law Societies and Justice program.


PhD Summer Schools & Post-Graduate Short Courses
2024             Northern Ireland and North East Doctoral Training Partnership (NINE-DTP) Summer School
2018             Academy for African Urban Diversity 2018 (Hosted at the Max Planck Institute’s Harnack House, in
                 Berlin, Germany)
2017             Academy for African Urban Diversity 2017 (Hosted at the African Centre for Migration and Society at
                 University of Witwatersrand, Johannesburg, South Africa)
2016             Re-ordering Diversity: Humanitarian Assistance in the Context of Forced Migration and Displacement,
                 University of Tübingen
2015             Social Science Research Methods, Center for Peace and Development Studies University of Juba,
                 South Sudan
2015             Social Science Research Methods, Institute Superieur de Tourisme, Goma, DR Congo
2009             Migration and refugees in the Middle East; American University Cairo,


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DISCIPLINARY MENTORING & LEADERSHIP
2017-2020             Co-Founder (with Prof. Loren Landau & Dr. Henrietta Nyamnjoh): Academy of African Urban
                      Diversity (AAUD), a six year series of summer-schools and professional development workshops for
                      doctoral students focusing on Urban Africa. Collaborative program between Max Planck Institute for
                      Religious and Ethnic Diversity (Göttingen, Germany,) the African Center for Migration and Society at
                      the University of Witwatersrand (Johannesburg, South Africa) and the African Center for Cities at
                      the University of Cape Town (South Africa).
July 4-8, 2016        PhD Summer School Instructor: Re-ordering Diversity: Humanitarian Assistance in the Context of
                      Forced Migration and Displacement, University of Tübingen. Seminars: Social Science Research in
                      the Humanitarian Arena; Ethical Considerations in Refugee Research.
Summer 2015           Short Course Instructor, Research Methodologies in Social Science, Institute Superieur de Tourisme,
                      Goma, Democratic Republic of Congo. Training for Instructional Staff.
                      Visiting Lecturer, Center for Peace and Development Studies, Juba University. Shared course:
                      Research Methodologies (required for post-graduate diploma students in Diplomatic Studies,
                      Strategic Studies, Humanitarian Studies and Peace & Development Studies.)


PROFESSIONAL SERVICE
Reviewer                Journals: American Anthropologist; Annals of the AAG; Antipode, Current Anthropology,
                        Diasporas, Environment and Planning F; Gender Place and Culture; Geoforum; Geopolitics;
                        Journal of East African Studies, Journal of Ethnic and Migration Studies, Journal of Peasant
                        Studies; Journal of Refugee Studies, Political Geography, Security Dialogue; Social and Cultural
                        Geographies; Transactions of the IBG, Urban Studies.
                        Grants: European Research Council, subject area expert, Consolidator Grant. ESRC, subject area
                        expert.
Ethics Advisor          Deputy Chair Research Ethics Committee, Department of Geography, Durham University. 2019-
                        2022.
                        MobileDeaf, ERC Funded project of Assistant Prof. Annelies Kusters, Heriot-Watt University in
                        Edinburgh. 2017-2022.
                        ‘Refugee Needs and Aspirations’ Research Group, Max Planck Institute for the Study of Religious
                        and Ethnic Diversity. 2016.
Search Committees       Interview panel member, Department of Geography, Durham University, in 2021, 2022, 2023,
                        2024 & 2025.
                        Search Committee Member (5 hires), Department of Socio-Cultural Diversity, Max Planck
                        Institute for the Study of Religious and Ethnic Diversity. 2017.
                        Search Committee Member, for Refugee Research Group (4 hires), Max Planck Institute for the
                        Study of Religious and Ethnic Diversity. 2015.
                        Selection Committee Member, Ottenberg-Winans Fellowship, African Studies Program,
                        University of Washington.
Colloquia/ Clusters     Economy and Culture Cluster Convenor, Department of Geography, Durham University. 2023-
                        2025.
                        Convener / African Diversities Colloquium, Max Planck Institute for the Study of Religious and
                        Ethnic Diversity. Summer Term 2016.
                        Committee member / African Studies Colloquium Committee, University of Washington. 2012-
                        2013 Academic Year.
                        Committee member / Department of Geography Colloquium Committee, University of
                        Washington. 2008-2009 Academic Year.
Professional Bodies & Accreditation
                        Fellowship of the UK HEA, 2023.


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Conferences & Invited Talks
Feb 2025             “Incentive Work and Humanitarian Labor” Center for Global Development, Northumbria
                     University, Newcastle, UK.
July 2021            “Rethinking Infrastructure of Care through vernacular theory” Panel 73. Building Caring Cities and
                     Infrastructures II 14-16h, July 25, 2024 Santiago, Chile, RC21 [International Conference of Urban
                     and Regional Development].
Aug 2019             “Staffing and Status: Humanitarian Labor Regimes in Kenya, Royal Geographical Society-Institute
                     for British Geography Annual Meeting, London
May 2018             Book review symposium: Myth of Self-Reliance: Economic Lives Inside a Liberian Refugee Camp
                     (Berrghahn Books) with Amanda Hammar & Naohiko Omata. University of Copenhagen.
April 2018           Paper: “Uncertainty in Action: mediating indeterminacy in South Sudan and Kenya” Association of
                     American Geographers Conference, April 10-14, 2018, New Orleans.
Jan 2018             Public Lecture “Uncertainty in Action: mediating indeterminacy in South Sudan and Kenya”
                     Friedensau Adventist University, Friedensau (Germany).
Aug 2017             Panel Discussion “The cost of Decolonizing the discipline” convened by Patricia Lopez and Abigail
                     Neely at the Royal Geographical Society-Institute for British Geography Annual Meeting. August
                     28 2017, London.
July 2017            “I am here for business: on not seeking asylum in Juba, South Sudan” paper presented in panel
                     55: Violent conflict and the politics of rural-urban transformation at the European Conference of
                     African Studies, July 1, 2017, Basel, Switzerland.
Mar 2017             “Other Paths, Other Destinations: Towards a Manifold Reading of Mobility Across Borders”
                     Invited talk in the series: Borders, Citizenship & Mobility: An Interdisciplinary Workshop on the
                     Geopolitics of Encounter, King’s College London. March 28, 2017, London.
Feb 2017             Invited talk at the African Centre for Migration and Society at the University of Witwatersrand.
                     February 27, 2017, Johannesburg.
Dec 2016             “Uncertain futures and everyday hedging in a humanitarian city” Invited talk, Feminist
                     Geographies Collective: work-in-progress workshop, Department of Geography University of
                     Texas, Austin. Dec 7 2016.
Dec 2016             Paper: “The regional option: circulations, risks and reward in East African migrant imaginaries,” in
                     Session: Cities in Africa: Meeting the Challenges for the Future I, African Studies Association,
                     Annual Meeting, Dec 1-3, 2016, Washington DC.
Aug 2016             Paper: “The art of the pitch and the uses of difference in urban South Sudan” in Session
                     Mobilizing Value across Time and Space (2), RGS-IBG Annual International Conference 2016, Aug
                     30- Sept 2, 2016, London.
Mar 2016             Session Convener (with Jamie Shinn, Texas A&M) “Uncertain futures and everyday hedging I & II”
                     empirical paper session. Discussants: AbdouMaliq Simone, Alex Schafran. Association of American
                     Geographers Conference, March 29-April 2, 2016, San Francisco, California.
Mar 2016             Paper: Seeking the uncertain: possible futures and everyday hedging in Juba, South Sudan.
                     Association of American Geographers Conference, March 29-April 2, 2016, San Francisco,
                     California.
Nov 2015             “Considering Humanitarianisms: temporality, enrollment and the human.” Invited Panelist:
                     Forum on Humanitarian Interventions and New Wars. Conference: Migration - Peace - Human
                     Security, November 20-22, 2015, University of
Oct 2015             Institute Round Table on the Refugee ‘Crisis’ in Germany (panelist), Max Plank Institute for the
                     Study of Religious and Ethnic Diversity, Göttingen, Germany.
Apr 2015             Academy of Urban Superdiversity, Berlin, Germany a project of the Max Planck Institute for the
                     Study of Religious & Ethnic Diversity. Junior researcher participant.
Nov 2014             “Because of Women’s Rights: Negotiating gender and politics in South Sudan” Paper Session:
                     Gendering state and society: Making meaning of gender advocacy and female political
                     participation in Sub-Saharan Africa, National Women’s Studies Association Conference,
                     November 13-16, 2014, San Juan, Puerto Rico.
Apr 2014             “Brewing and drinking: negotiating the gendered terrain of labor and value in rural South Sudan”


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               Paper Session: Reinventing the Rural: Gender, Development, and Contested Landscapes,
               Association of American Geographers Conference, April 8-12, 2014, Tampa, Florida.
Mar 2014       Democracy Roundtable panelist ‘A wider look at Democracy in Africa,’ Democracy Institute, the
               Pennsylvania State University, State College PA. March 31, 2014.
Feb 2014       “ ‘Going to the Bush’—Landscapes of local knowledge, power and resistance in South Sudan.”
               Paper Session: Rebel Landscapes, Dimensions of Political Ecology Conference, Feb 27-March 3,
               2014, Lexington Kentucky.
Oct 2013       Coffee Hour Talk, “Can my mother forget about me? Land, authority and belonging in post-
               conflict South Sudan” Department of Geography, The Pennsylvania State University. October 11,
               2013
Apr 2013       Session Convener (with Jesse McClelland) “Post-colonial Urbanisms: African Connections and
               Innovations I, II, & III.” Two empirical paper session, and a panel discussion on African Urbanism
               with Martin Murray and Garth Meyers. Association of American Geographers Conference, April 9-
               13, Los Angeles, California, USA.
Apr 2013       “Materializing Difference: The Socio-spatial Legacy of Refugee Camps” Paper Session: On the
               Question of Violence in the Humanitarian Present II. Association of American Geographers
               Conference, April 9-13, Los Angeles, California, USA.
Nov 2012       “Land, Labor and Return Migration: Thinking through work in post-conflict South Sudan,”
               University of Washington’s Department of Geography Colloquium Series, November 30, 2012,
               Seattle Washington, USA.
Feb 2012       “A new life at the end of the food chain: food aid caring across distance, and shifting practices in
               the ‘global domestic’ ” Association of American Geographers Conference, Feb 24-28, 2012, New
               York City, New York. Session title: Dis/articulations: Commodity circuits and the uneven
               geographies of capitalism.
Apr 2011       Session Convener “Interrogating Humanitarian Practice: Panel Discussion,” Association of
               American Geographers Conference, April 12-16, 2011, Seattle, Washington, USA.
Apr 2010       “Emerging sovereignties: return migration and the post-conflict state in Southern Sudan” Settling
               into Motion Scholars Conference, April 28-30, Berlin, Germany.
Apr2010        “Remembering place: return migration and the politics of place in South Sudan” at the
               Association of American Geographers Conference, April 14-18, 2010, Washington D.C., USA.
               (panelist) “Fieldwork in an African Setting” Association of American Geographers Conference,
               April 14-18, 2010, Washington D.C., USA.
Oct 2009       “Beyond Safety and Dignity: Geographic Perspectives on Refugee Return Migration” Wednesday
               Seminars, Center for Migration and Refugee Studies, American University in Cairo, October 2009,
               Cairo Egypt.
Aug 2008       “Social Imaginaries: Gender, Islam and Asylum” at Image and Imagination- Portraying Mobility in
               the Mediterranean, August 29-31, 2008, Damascus, Syria.
Apr 2010       “Emerging sovereignties: return migration and the post-conflict state in Southern Sudan” Settling
               into Motion Scholars Conference, April 28-30, Berlin, Germany.
Apr2010        “Remembering place: return migration and the politics of place in South Sudan” at the
               Association of American Geographers Conference, April 14-18, 2010, Washington D.C., USA.
               (panelist) “Fieldwork in an African Setting” Association of American Geographers Conference,
               April 14-18, 2010, Washington D.C., USA.
Oct 2009       “Beyond Safety and Dignity: Geographic Perspectives on Refugee Return Migration” Wednesday
               Seminars, Center for Migration and Refugee Studies, American University in Cairo, October 2009,
               Cairo Egypt.
Aug 2008       “Social Imaginaries: Gender, Islam and Asylum” at Image and Imagination- Portraying Mobility in
               the Mediterranean, August 29-31, 2008, Damascus, Syria.
Apr 2008       “Feminism or Islamophobia? Gender, Islam and Asylum in Europe” at the Association of American
               Geographers Conference, April 15-19, 2008; Boston, USA.
Mar 2002       (panelist) “What’s Happening to Asylum” at Think Twice, March 22, 2002; Trinity College,
               Cambridge University, United Kingdom.




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